Case 23-54125-wlh   Doc 12   Filed 05/16/23 Entered 05/16/23 07:50:56   Desc Main
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Case 23-54125-wlh                                    Fort Lauderdale, FL 33329-7871                       Fort Lauderdale, FL 33329
Northern District of Georgia
Atlanta
Tue May 16 07:40:15 EDT 2023
Bank Of America                                      (p)BANK OF AMERICA                                   Capital One
400 Christiana Road                                  PO BOX 982238                                        11013 W Broad St
Newark, DE 19702-3208                                EL PASO TX 79998-2238                                Glen Allen, VA 23060-6017



Capital One                                          Cba Of Ga Inc                                        Cbna
Po Box 85064                                         64 Sailors Dr Ste 102                                Po Box 6497
Glen Allen, VA 23058                                 Ellijay, GA 30540-3744                               Sioux Falls, SD 57117-6497



Citi                                                 Citibank Na                                          Doe Aidv
Pob 6241                                             Po Box 769006                                        1891 Metro Center Dr
Sioux Falls, SD 57117-6241                           San Antonio, TX 78245-9006                           Reston, VA 20190-5287



Dpt Ed/Aidv                                          Goldmansac                                           Gs Bank Usa
Po Box 9635                                          200 West Street                                      Lockbox 6112
Wilkes Barre, PA 18773-9635                          New York,, NY 10282-2198                             Philadelphia, PA 19170-0001



Soo J. Hong                                          James Bates Brannan Groover LLP                      (p)JPMORGAN CHASE BANK N A
Blevins & Hong, PC                                   3399 Peachtree RD NE                                 BANKRUPTCY MAIL INTAKE TEAM
191 Roswell St.                                      Suite 1700                                           700 KANSAS LANE FLOOR 01
Marietta, GA 30060-1937                              Atlanta, GA 30326-1151                               MONROE LA 71203-4774


Byung Ho Kang                                        Metro City Bank                                      Metro City Bank
6495 Creekview Circle                                5441 Buford Highway                                  5441 Buford Hwy Ne Ste 1
Duluth, GA 30097-5315                                #109                                                 Doraville, GA 30340-1168
                                                     Atlanta, GA 30340-1168


Syncb/Carecr                                         US Bank                                              Lawrence Lee Washburn IV
Po Box 981439                                        800 Nicollet Mall                                    Wilson Elser Moskowitz Edelman & Dicker
El Paso, TX 79998-1439                               Saint Louis, MO 63166                                Suite 1400
                                                                                                          3348 Peachtree Road, NE
                                                                                                          Atlanta, GA 30326-1450

Nancy J. Whaley                                      Doroteya N. Wozniak                                  Saera Yoo
Nancy J. Whaley, Standing Ch. 13 Trustee             James-Bates-Brannan-Groover-LLP                      6495 Creekview Circle
Suite 120, Truist Plaza Garden Offices               Suite 1700                                           Duluth, GA 30097-5315
303 Peachtree Center Avenue                          3399 Peachtree Road, NE
Atlanta, GA 30303-1216                               Atlanta, GA 30326-1151



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                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
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